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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


Criminal Action No. 1:17-cr-00168-CMA-1

UNITED STATES OF AMERICA,

       Plaintiff,

v.

KAREN LYNN MCCLAFLIN

       Defendant.


                           ORDER TO SURRENDER IN LIEU OF
                    TRANSPORTATION BY THE UNITED STATES MARSHAL


          IT IS ORDERED that Defendant, KAREN LYNN MCCLAFLIN having been

sentenced in the above-named case to the custody of the Bureau of Prisons, is to

surrender herself by reporting to the Warden, FMC Carsell, J St. Bldg. 3000, Fort

Worth, Texas, on January 18 2019, by 12:00 Noon, and will travel at her own

expense.

     DATED: January 16, 2019

                                        BY THE COURT:



                                        CHRISTINE M. ARGUELLO
                                        United States District Judge
